          Case 2:21-cv-09269-SVW-SK Document 2 Filed 11/29/21 Page 1 of 1 Page ID #:59

     NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
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                     CIGNA HEALTH AND LIFE INSURANCE COMPANY,
                     CIGNA HEATLHCAR E OF CALIFORNIA, INC., and
    ATTORNEY(S) FOR: CIGNA HEATLHCAR E OF ILLINOIS, INC.

                                                                    UNITED STATES DISTRICT COURT
                                                                   CENTRAL DISTRICT OF CALIFORNIA
  DEDICATED SLEEP LLC                                                                                         CASE NUMBER:



                                                                                           Plaintiff(s),
                                                     v.
 CIGNA HEALTH & LIFE INSURANCE
 COMPANY, et al.                                                                                                                    CERTIFICATION AND NOTICE
                                                                                                                                      OF INTERESTED PARTIES
                                                                                        Defendant(s)                                      (Local Rule 7.1-1)

 TO:           THE COURT AND ALL PARTIES OF RECORD:
                                                                             CIGNA HEALTH AND LIFE  INSURANCE COMPANY,CIGNA HEATLHCARE OF CALIFORNIA, INC.
 The undersigned, counsel of record for CIGNA HEATLHCARE OF ILLINOIS,                                                INC.
 or party appearing in pro per, certifies th,...a_t_t.,...h_e...,.fo_l,...lo_w__,...in-g"""'l,.,..is-t-ed......-p-ar_t_y_,(_o_r-p-ar_t..,..ie_s,,_)_m_a_y"""'h,...a_v_e_a_p_e_c_u_n"""'i-ary--=i,....n-te_r_e
                                                                                                                                                                                                             -st-:ic-n
 the outcome of this case. These representations are made to enable the Court to evaluate possible disqualifi
                                                                                                                                                                                                         cation
 or recusal.
                   (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                                           PARTY                                                                         CONNEC TION I INTEREST




              November 29, 2021
                                                                                                                                                 J
             Date



                                                                                    Attorney of record for (or name of party appearing in pro per):

                                                                                    Defendant s


CV-30 (05/13)                                                                  NOTICE OF INTERESTED PARTIES
